     Case 3:16-md-02741-VC Document 17474 Filed 11/07/23 Page 1 of 7



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14
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15 Company
16
17                     UNITED STATES DISTRICT COURT

18                   NORTHERN DISTRICT OF CALIFORNIA

19 IN RE: ROUNDUP PRODUCTS                  MDL No. 2741
   LIABILITY LITIGATION,
20                                          Case No. 3:16-md-02741-VC
21 Angelo Bulone v. Monsanto Company,       MONSANTO COMPANY’S NOTICE
   3:20-cv-03719-VC                         OF MOTION AND MOTION TO
22                                          STRIKE EXPERT REPORT OF
23                                          LUOPING ZHANG, PH.D.

24                                          Hearing:
                                            Date: December 14, 2023
25                                          Time: 10:00 a.m.
                                            Place: Courtroom 4
26
27
28

                  MOTION TO STRIKE EXPERT REPORT OF LUOPING ZHANG, PH.D.
      Case 3:16-md-02741-VC Document 17474 Filed 11/07/23 Page 2 of 7



 1         TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
 2 RECORD:
 3         PLEASE TAKE NOTICE THAT on December 14, 2023 at 10:00 a.m. in
 4 Courtroom 4 of the United States District Court, Northern District of California,
 5 located at 450 Golden Gate Avenue, San Francisco, CA 94102, or as ordered by the
 6 Court, Defendant Monsanto Company (“Monsanto”) will move this Court for an
 7 order, pursuant to Federal Rules of Civil Procedure 26(a)(2)(B) and 37(c)(1),
 8 granting its Motion to Strike the Expert Report of Lupoing Zhang, Ph.D. served by
 9 Wave 6D Plaintiff Angelo Bulone (“Plaintiff”), on the grounds that the expert report
10 lacks required detail and therefore Plaintiff should not be allowed to rely on Dr.
11 Zhang’s undisclosed opinions at trial.
12
13 Dated: November 7, 2023                  Respectfully submitted,
14
                                            /s/ Jed P. White
15                                                 Jed P. White
16                                          Attorney for Defendant Monsanto Company

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      MONSANTO’S NOTICE OF MOTION & MOTION TO STRIKE AFFIDAVIT OF LUOPING ZHANG, PH.D.
      Case 3:16-md-02741-VC Document 17474 Filed 11/07/23 Page 3 of 7



 1                MEMORANDUM OF POINTS AND AUTHORITIES
 2         To prevail on any of his claims, Angelo Bulone, (“Plaintiff”), must prove that
 3 Roundup was the proximate cause of his cancer. Whether Roundup—a chemical
 4 compound—is defective, can cause cancer generally, and whether it actually did cause
 5 Plaintiff’s cancer specifically, are specialized issues for which expert testimony is
 6 required.
 7         Plaintiff failed to disclose a sufficiently detailed expert report for Luoping
 8 Zhang, Ph.D. (“Dr. Zhang”) regarding her causation opinions, which was due
 9 September 25, 2023. Instead, Plaintiff served a one-page affidavit from Dr. Zhang,
10 which stated that her opinions were set out in two (2) attached journal articles. Having
11 failed to provide a Rule 26(a)(2)(B)-compliant expert report, Plaintiff should not be
12 permitted to rely on Dr. Zhang’s opinions at trial.
13                                    BACKGROUND
14         Plaintiff is a resident of South Carolina who alleges that exposure to
15 Monsanto’s Roundup-branded herbicides (“Roundup”) caused him to develop cancer.
16 See Complaint. ECF 1, ¶¶ 1, 100-105. Mr. Bulone was diagnosed with Chronic
17 Lymphocytic Leukemia (“CLL”) in 1995. See id. at ¶¶ 1, 103. Plaintiff seeks to hold
18 Monsanto responsible for his cancer, asserting nine causes of action. The lynchpin of
19 Plaintiff’s complaint is that glyphosate—the active-ingredient in Roundup—caused
20 Plaintiff’s CLL. See id. at ¶¶ 1, 100-105.
21         On November 3, 2022, this MDL Court required all Wave 6D plaintiffs,
22 including Plaintiff in this case, to submit expert reports no later than September 25,
23 2023. See Order Granting Joint Request for Revised Schedule for Wave 5-6 Cases
24 and Adding Wave 7 Schedule (“Scheduling Order”) (MDL ECF #15725). The expert
25 discovery required by this Order must be accompanied by written reports signed by
26 the experts and must contain “a complete statement of all opinions the witnesses will
27 express and the basis and reasons for them,” among other information. Fed. R. Civ.
28 P. 26(a)(2)(B)(i).
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                    MOTION TO STRIKE EXPERT REPORT OF LUOPING ZHANG, PH.D.
         Case 3:16-md-02741-VC Document 17474 Filed 11/07/23 Page 4 of 7



 1           On September 25, 2023, Plaintiff served an “expert report” which merely
 2 consists of an affidavit from Dr. Zhang and included as exhibits her CV, and two
 3 journal articles, as well as a separate document listing her prior testimony. 1
 4 Declaration of Jed White (“White Decl.”), ¶ 3. Accordingly, Plaintiff has not
 5 complied with Rule 26’s disclosure requirements concerning the opinions he seeks
 6 Dr. Zhang to offer in this case, and Dr. Zhang’s affidavit should be stricken.
 7                                   LEGAL STANDARD
 8           The disclosure of expert testimony is governed by Federal Rule if Civil
 9 Procedure 26(a)(2). In addition to requiring that a plaintiff disclose the identity of the
10 expert, Rule 26(a)(2) provides that “[a] written report is required” of that expert if she
11 “is one retained or specially employed to provide expert testimony in the case or one
12 whose duties as the party’s employee regularly involve giving expert testimony.”
13 Masimo Corp. v. Apple, Inc., No. SA CV 20-00048 JVS (JDEx), 2022 WL 18285029,
14 at *2 (C.D. Cal. Nov. 22, 20222) (quoting Fed. R. Civ. P. 26(a)(2)(B)). The expert
15 report must contain:
16           (i) a complete statement of all opinions the witness will express and the
17           basis and reasons for them;
             (ii) the facts or data considered by the witness in forming them;
18
             (iii) any exhibits that will be used to summarize or support them;
19           (iv) the witness's qualifications, including a list of all publications
20           authored in the previous 10 years;
             (v) a list of all other cases in which, during the previous 4 years, the
21           witness testified as an expert at trial or by deposition; and
22           (vi) a statement of the compensation to be paid for the study and
             testimony in the case.
23
24 Fed. R. Civ. P. 26(a)(2)(B)(i)-(iv).
25           Where a plaintiff fails to provide the required expert report, Federal Rule of
26 Civil Procedure 37(c)(1) provides that “the party is not allowed to use the witness to
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     Tellingly, neither Plaintiff’s transmission of Dr. Zhang’s affidavit, nor the affidavit
28 itself, refer to her materials as an “expert report.”
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                     MOTION TO STRIKE EXPERT REPORT OF LUOPING ZHANG, PH.D.
        Case 3:16-md-02741-VC Document 17474 Filed 11/07/23 Page 5 of 7



 1 supply evidence at trial unless it establishes that the failure was substantially justified
 2 or is harmless.” Masimo, 2022 WL 18285029, at *2 (citation omitted).
 3                                       ARGUMENT
 4 I.       THE COURT SHOULD STRIKE DR. ZHANG’S EXPERT REPORT
            BECAUSE IT DOES NOT SATISTY THE WRITTEN REPORT
 5
            REQUIREMENT UNDER FEDERAL RULE OF CIVIL PROCEDURE
 6          26(a)(2).
 7          Plaintiff’s deadline to disclose expert reports was September 25, 2023. See
 8 Nov. 3, 2022 Order Granting Joint Request for Revised Schedule for Wave 5-6 Cases
 9 and Adding Wave 7 Schedule. It is plain that Dr. Zhang’s one-page affidavit—which
10 is devoid of any statement regarding her opinions (including the basis for them), the
11 facts or data she considered in forming these unknown opinions, the exhibits (if any)
12 that summarize or support them, and her compensation—does not satisfy Rule
13 28(a)(2)(B)’s requirements and should be stricken. Courts routinely strike similarly
14 sparse submissions. See e.g., Cyntegra, Inc. v. Idexx Labs., Inc., No. CV 06-4170 PSG
15 (CTx), 2007 WL 5193736, at *9 (Sept. 21, 2007) (expert declaration, which barely
16 exceeded one page, did not constitute a proper expert report and striking the same);
17 see also Derrick v. Standard Nutrition Co., No. CIV 17-1245 RB/SMV, 2019 WL
18 2024960, at *1 n.1 (D.N.M. May 8, 2019) (doctor’s letter did not qualify as an “expert
19 report” because it did not meet the requirements of Rule 26(a)(2)(B)); Robinson v.
20 Suffolk Cnty. Police Dept., 544 Fed. App’x 29, 32 (2nd Cir. 2013) (affirming trial
21 court’s exclusion of “insufficiently detailed” expert report); Osei v. Staples, Inc., No.
22 PX 8:20-cv-00040, 2021 WL 1516036, at *5 (D. Md. Apr. 15, 2021) (striking
23 designation of expert where his report is deficient in a number of ways, such as failing
24 to include an explanation of how the defendants were negligent); Central States,
25 Southeast and Southwest Areas Health & Welfare Fund v. Haynes, No. 17 C 6275,
26 2018 WL 8265243, at *3 (N.D. Ill. Oct. 24, 2018) (excluding testimony of doctor
27 whose one-page affidavit “lack[ed] the how and why of [his] reasons for his
28 opinion”); Jackson v. U.S., No. C 05-3006 MHP, 2007 WL 4532223, at *4-5 (N.D.
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                    MOTION TO STRIKE EXPERT REPORT OF LUOPING ZHANG, PH.D.
      Case 3:16-md-02741-VC Document 17474 Filed 11/07/23 Page 6 of 7



 1 Cal. Dec. 19, 2007) (excluding expert whose one-page medical report “cite[d] to no
 2 specific evidence or statement of facts to support his conclusions”); Livertt v. Dyncorp
 3 Int’l LLC, No. 1:17cv811, 2017 WL 6896663, at *2 (E.D. Va. Oct. 24, 2017) (granting
 4 motion to strike expert witness where his one-page summary of opinions did not
 5 satisfy Rule 26(a)(2)(B) because it did not “include[e] a complete statement of the
 6 bases and reasons for [the expert]’s opinions or the facts or data [he] used to form his
 7 opinions).
 8         Plaintiff had ample time and opportunity to satisfy his expert disclosure
 9 obligations under Rule 26(a)(2) and the Scheduling Order. And honoring strict
10 deadlines in an MDL is particularly important. See Allen v. Bayer Corp. (In re:
11 Phenylpropanolamine (PPA) Prods. Liab. Litig.), 460 F.3d 1217, 1222 (9th Cir. 2006)
12 (affirming dismissal of cases in MDL for failure to comply with case management
13 orders because “multidistrict litigation is different because of the large number of
14 cases that must be coordinated, its greater complexity, and the court’s statutory charge
15 to promote the just and efficient conduct of the actions”).
16         Dr. Zhang’s affidavit fails to comply with FRCP 26(a)(2) and Plaintiff’s failure
17 to submit an expert report for Dr. Zhang was not substantially justified or harmless.
18                                     CONCLUSION
19         For the foregoing reasons, the Court should strike Dr. Zhang’s purported expert
20 report and preclude Plaintiff from relying on her opinions at trial.
21
22 Dated: November 7, 2023                 Respectfully submitted,
23
                                           /s/ Jed P. White
24                                                Jed P. White
25                                         Attorney for Defendant Monsanto Company

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                    MOTION TO STRIKE EXPERT REPORT OF LUOPING ZHANG, PH.D.
     Case 3:16-md-02741-VC Document 17474 Filed 11/07/23 Page 7 of 7



 1                           CERTIFICATE OF SERVICE
 2        I hereby certify that on November 7, 2023, I electronically filed the foregoing
 3 with the Clerk of the Court by using the CM/ECF system which will send a notice of
 4 electronic filing (NEF) to all counsel of record who are CM/ECF participants.
 5                                        /s/ Jed P. White
 6                                        Jed P. White

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                   MOTION TO STRIKE EXPERT REPORT OF LUOPING ZHANG, PH.D.
